                             Application for Multi-Court Exemption from the
                         Judicial Conference's Electronic Public Access (EPA) Fees
1.) I am requesting an exemption from fees for public access to electronic case records for the courts
selected below:
 Courts of Appeal                              Bankruptcy Appellate Panels (BAP)
        All Courts of Appeal     Seventh Circuit        First Circuit - BAP
        First Circuit            Eighth Circuit         Sixth Circuit - BAP
        Second Circuit           Ninth Circuit          Eighth Circuit - BAP
        Third Circuit            Tenth Circuit          Ninth Circuit - BAP
        Fourth Circuit           Eleventh Circuit       Tenth Circuit - BAP
        Fifth Circuit            D.C. Circuit
        Sixth Circuit            Federal Circuit

  District Courts
        All District Courts
        Alabama Middle           Illinois Northern      Nebraska                   Rhode Island
        Alabama Northern         Illinois Central       Nevada                     South Carolina
        Alabama Southern         Illinois Southern      New Hampshire              South Dakota
        Alaska                   Indiana Northern       New Jersey                 Tennessee Eastern
        Arizona                  Indiana Southern       New Mexico                 Tennessee Middle
        Arkansas Eastern         Iowa Northern          New York Eastern           Tennessee Western
        Arkansas Western         Iowa Southern          New York Northern          Texas Eastern
        California Central       Kansas                 New York Southern          Texas Northern
        California Eastern       Kentucky Eastern       New York Western           Texas Southern
        California Northern      Kentucky Western       North Carolina Eastern     Texas Western
        California Southern      Louisiana Eastern      North Carolina Middle      Utah
        Colorado                 Louisiana Middle       North Carolina Western     Vermont
        Connecticut              Louisiana Western      North Dakota               Virgin Islands
        Delaware                 Maine                  Northern Mariana Islands   Virginia Eastern
        District of Columbia     Maryland               Ohio Northern              Virginia Western
        Florida Middle           Massachusetts          Ohio Southern              Washington Eastern
        Florida Northern         Michigan Eastern       Oklahoma Eastern           Washington Western
        Florida Southern         Michigan Western       Oklahoma Northern          West Virginia Northern
        Georgia Northern         Minnesota              Oklahoma Western           West Virginia Southern
        Georgia Middle           Mississippi Northern   Oregon                     Wisconsin Eastern
        Georgia Southern         Mississippi Southern   Pennsylvania Eastern       Wisconsin Western
        Guam                     Missouri Eastern       Pennsylvania Middle        Wyoming
        Hawaii                   Missouri Western       Pennsylvania Western
        Idaho                    Montana                Puerto Rico



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    Bankruptcy Courts
          All Bankruptcy Courts
          Alabama Middle                Illinois Northern              Nebraska                           Rhode Island
          Alabama Northern              Illinois Central               Nevada                             South Carolina
          Alabama Southern              Illinois Southern              New Hampshire                      South Dakota
          Alaska                        Indiana Northern               New Jersey                         Tennessee Eastern
          Arizona                       Indiana Southern               New Mexico                         Tennessee Middle
          Arkansas Eastern              Iowa Northern                  New York Eastern                   Tennessee Western
          Arkansas Western              Iowa Southern                  New York Northern                  Texas Eastern
          California Central            Kansas                         New York Southern                  Texas Northern
          California Eastern            Kentucky Eastern               New York Western                   Texas Southern
          California Northern           Kentucky Western               North Carolina Eastern             Texas Western
          California Southern           Louisiana Eastern              North Carolina Middle              Utah
          Colorado                      Louisiana Middle               North Carolina Western             Vermont
          Connecticut                   Louisiana Western              North Dakota                       Virgin Islands
          Delaware                      Maine                          Northern Mariana Islands           Virginia Eastern
          District of Columbia          Maryland                       Ohio Northern                      Virginia Western
          Florida Middle                Massachusetts                  Ohio Southern                      Washington Eastern
          Florida Northern             Michigan Eastern                Oklahoma Eastern                   Washington Western
          Florida Southern             Michigan Western                Oklahoma Northern                  West Virginia Northern
          Georgia Northern             Minnesota                       Oklahoma Western                   West Virginia Southern
          Georgia Middle               Mississippi Northern            Oregon                             Wisconsin Eastern
          Georgia Southern             Mississippi Southern            Pennsylvania Eastern               Wisconsin Western
          Guam                         Missouri Eastern                Pennsylvania Middle                Wyoming
          Hawaii                       Missouri Western                Pennsylvania Western
          Idaho                        Montana                         Puerto Rico

National Courts
        Judicial Panel on                 U.S. Court of             U.S. Court of
        Multidistrict Litigation          Federal Claims            International Trade


2.) I am an individual associated with               University of Colorado at Boulder

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.



I am working with a team of professors at CU Boulder to examine the economic effects of forum shopping in corporate bankruptcy
cases. I have a large database (several hundred) of publicly traded firms that have filed for bankruptcy, in order to tell if they forum
shopped I need the court records to tell where they filed, and potentially where they had other large assets.




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4.) In support of this application, I affirm the following:
   a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
   unreasonable burdens and to promote public access to information.
  b) That the exemption will be for a definitive period of time:       3 months

  c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
  stated above, and will apply only to the electronic case files of the court(s) indicated above that are
  available through the PACER service.
  d) I agree that any data received through this exemption will not be sold for profit, will not be
  transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

    Declaration: I declare that all the above information is true and understand that a false statement
    may result in termination of my exempt access and an assessment of Electronic Public Access
    usage fees. (The box must be marked or your request will not be considered)


                                                                           (316) 494-2077
Chad Brown
                                                             Applicant's Phone Number
Applicant's Printed Name
                                                                       chbr4636@colorado.edu
                                                             Applicant's email address
                                                             256 UCB
Applicant's Title
                                                             Applicant's Mailing Address
                      Digitally signed by Chad Brown
Chad Brown            Date: 2020.06.18 12:55:12 -06'00'      Boulder                        CO         80303
                                                             City                           State      Zip Code
Applicant's Signature
                                                                                               Jun 18, 2020

                                                                                               Date



Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:
Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD
One Columbus Circle, N.E.
Washington, DC 20544

         ** Requests sent through the US mail may take up to two weeks to clear security.**



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